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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION


UNION ASSET MANAGEMENT                   Case No. 3:20-cv-00518-X
HOLDING AG, Individually and On Behalf
All others similarly situated,           CLASS ACTION

                  Plaintiff,

            v.

FLUOR CORPORATION, DAVID T.
SEATON, CARLOS M. HERNANDEZ,
BRUCE A. STANSKI, D. MICHAEL
STEUERT, and ROBIN K. CHOPRA,

                  Defendants.



[PROPOSED] ORDER APPOINTING UNION ASSET MANAGEMENT HOLDING AG
    AS LEAD PLAINTIFF AND APPROVING ITS SELECTION OF COUNSEL
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       Upon consideration of: (i) the Motion of Union Asset Management Holding AG (“Union”)

for appointment as Lead Plaintiff and approval of its selection of Counsel; (ii) the brief in support

thereof; (iii) the accompanying Appendix of Exhibits; and (iv) all other pleadings and argument

submitted to this Court; and for good cause shown,

IT IS HEREBY ORDERED THAT:

       1.      Union’s Motion is GRANTED.

       2.      Union is APPOINTED to serve as Lead Plaintiff pursuant to Section 21D(a)(3)(B)

of the Securities Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(3)(B), as amended by the Private

Securities Litigation Reform Act of 1995, in the above-captioned action.

       3.      Union’s selection of Counsel is APPROVED, and Bernstein Litowitz Berger &

Grossmann LLP is APPOINTED as Lead Counsel for the Class, and McKool Smith PC is

APPOINTED as Liaison Counsel for the Class.

       4.      This action shall be captioned “In re Fluor Corporation Securities Litigation” and

the file shall be maintained under Master File No. 3:20-cv-00518-X.


IT IS SO ORDERED.


Dated: _____________ ___, 2020
                                                        ________________________________
                                                             HON. BRANTLEY STARR
                                                         UNITED STATES DISTRICT JUDGE




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